    ï.Case
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?




                                   UNITED STATES DISTRICT COURT
                                   SOU TH ERN DISTR ICT O F FLORID A

                               CaseNo.l8-8ozzg-cr-M iddlebrooks& rnnnonts)

        UN ITED STA TES OF AM ER ICA



        AN TON IO RACHAUD BURNS,

                             D efendant.
                                        /


                                            PLEA .4 GC EM EN T

                TheUnited StatesofAmericaandANTONIO RACHAUD BURNS (hereinafterreferred
        toasthettdefendanf')enterintothefollowingagreement:
                      The defendantagreesto plead guilty to CotmtsOneand Threeofthe Superseding

        Infonnation. ColmtOnechargesthedefendantwithpossessionwith intentto distdbuteam ixture

        and substance containing a detectable am ountoffentanyl,in violation ofTitle21,Urlited States

        Code,Sedion 841(a)(1). CountThree chargesthe defendantwith possession ofa firearm in
        furtherance of a dnlg tfafficking offense,in violation ofTitle 18,United States Code,Section

        924(c)(1)(A)(i).
                      The U nited States agrees to seek dism issal of Count Tw o of the Superseding

        lnfonnation aftersentencing.

                      The defendant is aw are that the sentence w ill be im posed by the Cottrt after

        considering the advisory Federal Sentencing Guidelines and Policy Stâtements (hereinafter
        l'Sentencing Guidelinesll). The defendantacknowledges and understands thatthe Cotlrtwill
        com pute an advisory sentence tm derthe Sentencing Guidelines and thatthe applicable guidelines
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  willbedeterm inedby theCourtrelyingin parton theresultsofapre-sentenceinvestigation by the

  Coud'sprobationoffice,which investigationwillcomm enceaftertheguiltypleahasbeen entered.

  The defendant is also awaze that,tmder certain circtunstances,the Courtm ay departfrom the

  advisory sentencing g'uideline range that ithas com puted,and m ay raise or low er thatadvisory

  sentenceuhderthe Sentencing Guidelines. The defendantisfurtheraware and understandsthat

  the Courtisrequired to considerthe advisory guideline range detennhled tmderthe Sentencing

  Guidelines,butisnotbotm d to im posea sentencew ithin thatadvisory range;the Courtisperm itted

  totailortheultim ate sentencein lightofotherstatutory concerns,and such sentencem ay beeither

  m ore severe or less severe than the Sentencing Guidelines'advisory range.K now ing these facts,

  the dçfendant understands and acknowledges that the Courthas the authority to im pose any

  sentencewithin andup tothestattztoly maximum authorizedby 1aw fortheoffensets)identified
  in paragraph 1andthatthe defendantm ay notwithdraw thepleasolely asaresultofthesentence

  imposed. The defendantisalso aw arethattheguidblinesdo notprovideforparole.

                Thedefendantunderstandsandacknowledgesthat,astoCountOne,theCourtm ay

  impose up to a statutory maximtlm term oftwenty (20)years imprisonment,followed by a
  mizlimllm term ofsupervised release ofthree (3)yearsup to a maximllm term oflife,and a
  maximllm fineof$1million. Asto CountThree,theCourtmustim poseastatutory m andatory-

  rnirlimlzm term offive(5)yearsimprisonmentup tolifeimprisonmentto beservedconsecutively
  to theterm of imprisonmentimposedforCountOne,followedby amaximllm term offive (5)
  yearsofsupervisedreleaseand am aximum fineof$250,000.
                The defendant further understands and acknow ledges that, in addition to any

  sentenceimposçdtmderparagraph 4ofthisagreement,aspecialassessmentintheamountof$200
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     willbe imposed on the defendant. The defendantagreesthatany specialassessmentimposed

     shallbe paid atthe tim e ofsentencing. Ifthe defendantisfm ancially unable to pay the special

     assessment,the defendantagreesto presentevidence to this Oflice and the Courtatthetim e of

     sentencing astothereasonsfol'the defendanfsfailm eto pay.

                  In exchange forthe agreem entsm ade by the defendantin thisplea agreement,the

     Governm entw illm ove to dism iss CountTw o of the Superseding Inform ation after sentencing.

     Thedefendantagreesand acknowledgesthatifhewasconvicted ofthecharge contained in Count

     Tw o,felon in possession of a fireann, he w ould face a hiaher advisory guideline range tm der

  U.S.S.G.j2K7.1thanhefacestmderU.S.S.G.j2D1.1(which isusedto calculatetheguideline
 '


  rangeforCountOne).
           d

                 Although notbinding on theprobation officeortheCourt,theUnited Statesand

  thedefendantagreethattheywilljointlyrecommendthatthedefendant'ssentenceinthiscasenm
     concurrently with the defendant's state sentence thatwillbe imposed in case no.2018C175899

  pending in the Fifteenth JudicialCircuitin and for Palm Beach Colmty. The defendantalso

  understandsthattllisagreem entdoesnotin any way bindthe StateAttorney'sOfficenorthestate

     couhjudge.
            8. Thedefendantabandons
                                ' l1isinterestin One(1)komnrm, m odelW A SR 10,7.62x39

  mm rifle,andapproximatelytwenty-nine(29)roundsofTulnmmonmmtmition. Defendant
     furtherstipulatesthatthepropertiesarecontraband and may bedestroyed.

                Tlnis Offce reselw esthe rightto inform the Coul'tand the probation office of a1lfacts

  pertinentto the sentencing process, including a11 relevant intbrm ation concerning the offenses

     com m itled, whether charged or not,as w ell as concerning the defendant and the defendant's
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    background. Subjectonlytotheexpresstermsofanyagreed-up
                                                         'onsentencingrecommendations
    contained in thisagreem ent,thisOftk efurtherreservestherighttom akeany recomm endation as
.
    tothequality and quantity ofp mishm ent.

                   The defendant agrees and acknow ledges thatthe U nited Statesw illnot seek

    the one point reduction for acceptance of responsibility, pursuant to U .S
                                                                             . S.
                                                                              .
                                                                                G.3E1.1(b),
    bqcause ofthe tim e and resources that the G overnm enthas expended in preparing for trial.

    Althougi thedefendantmay seek thetwo pointredudion foracceptanceofresponsibility
    from theCourt(and theGovernm entwilltakenoposition on thisrequest),the defendant
    agrees and acknow ledges that the C ourt m ay deny the defendant's request and that is a

    chance that the defendanttakeswith his guilty plea. Ifthe Courtdeniesthe defendant's

    request for a two lçvelreduction for acceptance of responsibility,the defendantm ay not

    w ithdraw his guilty plea. The defendant agrees and acknow ledges thpt counsel has

    explained to him the potentialadvisory guideline rangesthatthe defendantfacvs both if the

    Courtw ere to aw ard the reduction for acceptance ofresponsibility,and ifthe Courtdeclines
                          ,




    to aw ard the reduction for acceptance ofresponsibility.

           11.    Thedefendantisawarethatthesentencehasnotyetbeen determ inedby theCourt.

    Thedefendantalsoisawarethatany estimateoftheprobablesentencingrangeorsentencethatthe

    defendant m ay receive, whether that estim ate com es from the defendant's attom ey, thç

    governm ent,or the probation office,is a prediction,nota promise,and is notbinding on the

    governm ent, the probation office cir the Court.The defendant understands ftzrther that any

    recom m endation thatthegovernm entmakestotheCourtasto sentencing,whetherpursuantto this

    agreem ent or othelw ise, is not binding on the Court and the Court m ay disregard the
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  recomm endation in its entirety. The defendant understands and acknowledges,as previously

     acknowledged above,thatthe defendantm ay notwithdraw the defendant'splea based upon the

     Court's decision not to accept a sentencing recom m endation m ade by the defendant, the

     government,orarecommendationmadejointlybyboththedefendantandthegovernment.
                    The defendantis awarethatTitle 28,United States Code,Section 1291 and Title

     18,United StatesCode,Section 3742 affordthedefendanttherighttoappealthesentenceimposed

  in thiscase. Acknowledging this,in exchangefortheundertaldngsm adeby theUnited Statesin

  this plea am eem ent,the defendanthereby w aives al1rights confen'ed by Sections 1291 and 3742

  toappealanysentenceimposed,ortoappealthem nnnerinwllichthesentencewasimposed,unless

  the sentence exceedsthe maximtlm pennitled by statm e oris the resultofan upward departure

  and/or an upward variance from the advisory guideline range that the court establishes at

     sentencing. Thedefendantfurtherunèerstandsthatnothing in thisagreementshqlaffectthe
     governm ent's rightmad/orduty to appealas setforth in Title 18,United States Code,Section
 '
                                                                                                       h
                                                                                            p
     3742(b)andTitle28,UzlitedStatesCode,Section1291. However,ifeither'
                                                                      .
     .          @       @   @    @                   @   @   @       @                *            '




              (b)theUnited Statesappealsthedefendant'ssentencepursuanttoSections3742(17)and
     1291,thedefendantshallbereleased f'
                                       rom theabovewaive'
                                                        rofllisrightto appealhissentence.

           The defendantf'urtherhereby waivesal1rightsconferred by Title 28,United StatesCode,

     Section 1291to assertany claim that:(1)thestattztets)towhichthedefendantispleading guilty
     is/are tmconstitutional;and/or (2)the admitted conductdoes notfallwithin the scope ofthe
     statutets)ofconviction.
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          By signing thisagreem ent,the defendantacknowledgesthatthedefendanthasdiscussed

  theappealwaiversetforth in thisagreem entwiththedefendant'sattorney. Thedefendantfurther

  agrees, together w ith tllis O ffice, to request that the Court enter a specific finding that the

  defendant'swaiverofhisrightto appealthe sentenceimposed in thiscaseand hisrightto appeal

  hisconviction in them nnnerdescribed abovewasknowing and voltmtary.

          13.    The defendantacknowledgesthathe has fully discussed the matters oftllisplea

  agreem entatldlnisguiltypleaptuw antthereto withhisattorney,andthathisattorneyhasanswered

  each ofhisquestionsaboutthe strength ofthe governm ent's case asw ellasthefollowing rights:

  to go to trial,to cross-exam ine the governm ent'switnesses,totestify in hisown behalf,to notbe

  compelled toprovideself-incrim inating testim ony,to callw itnessesforthedefense,and to appeal

  any adverseverdictthatm ay resultfrom a trial. The defendantfurtheracknowledgesthathe is

  fully satisfied with therepresentation provided by hisattorney.

                 Thisisthe entireagreementand understanding between theUnited Statesand the

  defendant. There areno otherar eem ents.promises.representations.ortm derstandingsbetween

  the parties.

                                              A RIAN A FA JM D O OR SH AN
                                              U N ITED STA TES A TTORN EY

  Date:            !.%                By:
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                                              DEFEN D AN T
